Case 2:20-cv-09573-GW-RAO Document 39 Filed 12/02/21 Page 1 of 1 Page ID #:245



    1

    2
                                                                             JS-6
    3

    4

    5

    6

    7

    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
   10

   11    VERTEX SURVEY, INC.,                    Case No. CV 20-9573-GW-RAOx

   12                       Plaintiff,

   13          v.                                  ORDER TO DISMISS WITH
                                                   PREJUDICE
   14    FCA US LLC,
   15                       Defendant.
   16

   17

   18
              Based upon the stipulation between the parties and their respective counsel,
   19
        it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
   20
        Each party will bear its own attorneys’ fees and expenses.
   21
              IT IS SO ORDERED.
   22

   23 Dated: December 2, 2021

   24
                                              _________________________________
   25                                         HON. GEORGE H. WU,
   26                                         UNITED STATES DISTRICT JUDGE
   27

   28
